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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION
SEPTEMBER DAVIS,                   §
      Plaintiff,                   §
                                   §
v.                                 §            Civil Action No. 1:18-cv-01093
                                   §
UNITED HEALTH SERVICES,            §
D/B/A MERIDELL ACHIEVEMENT         §
CENTER                             §
      Defendant.                   §

                                      SCHEDULING ORDER

        Pursuant to Federal Rule of Civil Procedure 16, the following Scheduling Order is issued by

the Court:

        1.      A report on alternative dispute resolution in compliance with Local Rule CV-88 shall

be filed on or before September 20, 2019.

        2.      The parties asserting claims for relief shall submit a written offer of settlement to

opposing parties on or before July 1, 2019, and each opposing party shall respond, in writing, on or

before July 22, 2019. All offers of settlement are to be private, not filed. The parties are ordered to

retain the written offers of settlement and responses so the Court may use them in assessing

attorney’s fees and costs at the conclusion of the trial.

        3.      Each party shall complete and file the attached “Notice Concerning Reference to

United States Magistrate Judge” on or before February 22, 2019.

        4.      The parties shall file all motions to amend or supplement pleadings or to join

additional parties on or before May 21, 2019.

        5.      All parties asserting claims for relief shall file their designation of testifying experts

and serve on all parties, but not file, the materials required by Federal Rule of Civil Procedure

26(a)(2)(B) on or before May 6, 2019. Parties resisting claims for relief shall file their designation of



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testifying experts and serve on all parties, but not file, the 2 materials required by Federal Rule of

Civil Procedure 26(a)(2)(B) on or before May 21, 2019. All parties shall file all designations of

rebuttal experts and serve on all parties the material required by Federal Rule of Civil Procedure

26(a)(2)(B) for such rebuttal experts, to the extent not already served, 15 days from the receipt of the

report of the opposing expert.

       6.      An objection to the reliability of an expert’s proposed testimony under Federal Rule

of Evidence 702 shall be made by motion, specifically stating the basis for the objection and

identifying the objectionable testimony, within 11 days from the receipt of the written report of the

expert’s proposed testimony, or within 11 days from the completion of the expert’s deposition, if a

deposition is taken, whichever is later.

       7.      The parties shall complete all discovery on or before August 2, 2019.

       8.      All dispositive motions shall be filed on or before September 20, 2019
                                                                                 2015, and shall be

limited to 20 pages. Responses shall be filed and served on all other parties not later than 14 days

after the service of the motion and shall be limited to 20 pages. Any replies shall be filed and served

on all other parties not later than 7 days after the service of the response and shall be limited to 10

pages, but the Court need not wait for the reply before ruling on the motion.

       9.      The Court will set this case for final pretrial conference at a later time. The final

pretrial conference shall be attended by at least one of the attorneys who will conduct the trial for

each of the parties and by any unrepresented parties. The parties should consult Local Rule CV-16(e)

regarding matters to be filed in advance of the final pretrial conference.

       The parties shall not complete the following paragraph. It will be completed by the
       Court at the initial pretrial conference to be scheduled by the Court.




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       10.                           Jury
               This case is set for ______________ trial commencing at 9:00 a.m. on

                     January 27
___________________________________________,   20
                                             20________.

       By filing an agreed motion, the parties may request that this Court extend any deadline set in

this Order, with the exception of the dispositive motions deadline and the trial date. The Court may

impose sanctions under Federal Rule of Civil Procedure 16(f) if the parties do not make timely

submissions under this Order.
                                     March 25
       SIGNED on ___________________________________________,   19
                                                              20_____.



                                              __________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

                                                  §
                                                  §
                                                  §
                                                  §

                        NOTICE CONCERNING REFERENCE TO
                         UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of 28 U.S.C. § 626(c), Federal Rule of Civil Procedure 73,

and the Local Rules of the United States District Court for the Western District of Texas, the

following party ________________________________________________________________

through counsel _______________________________________________________________

       ___ consents to having a United States Magistrate Judge preside over the trial in this case.

       ___ declines to consent to trial before a United States Magistrate Judge.



                                                      Respectfully submitted,

                                                      __________________________________

                                                      Attorney for:

                                                      __________________________________




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